  Case 4:23-cv-01002-O Document 57 Filed 07/29/24        Page 1 of 2 PageID 2397



                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS

JOHN SABAL,

              Plaintiff,

v.                                                   Case No. 4:23-cv-01002

ANTI-DEFAMATION LEAGUE,

              Defendant.


                                   STATUS REPORT

      Undersigned counsel and the law firm of the Binnall Law Group, and pursuant

to this Court’s July 1, 2024, Order, respectfully submit this status report concerning

Plaintiff’s replacement counsel.

      Plaintiff John Sabal has diligently searched for replacement counsel since

undersigned counsel brought their Motion for Withdrawal of Counsel (Doc. 43). Mr.

Sabal has, however, not found replacement counsel for this matter. The Binnall Law

Group will therefore be filing Mr. Sabal’s opposition to Defendant’s motion for

summary judgment on July 31, 2024. Binnall Law Group will also be separately filing

an ex parte notice on the docket as directed by the Court’s Orders.



Dated: July 29, 2024                          Respectfully submitted,

                                              /s/ Jason C. Greaves
                                              Jason C. Greaves, TBN 24124953
                                              Molly McCann, VA Bar 94222
                                              Jared J. Roberts (pro hac vice)
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  Case 4:23-cv-01002-O Document 57 Filed 07/29/24         Page 2 of 2 PageID 2398



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                           CERTIFICATE OF SERVICE

      I certify that on July 29, 2024, a copy of the foregoing was filed with the Clerk

of the Court using the Court’s CM/ECF system, which will send a copy to all counsel

of record.

                                              /s/ Jason C. Greaves
                                              Jason C. Greaves




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